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                                                      U.S. Department of Justice
                                                      United States Attorney
                                                      Western District of Tennessee


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                                                                      November 2, 2023

William Massey
3074 East St.
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John Keith Perry
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Southaven, MS 38672
662-349-6900


Re:    United States vs. Emmitt Martin et al.
       Cr. No. 2:23-cr-20191-MSN

Dear Mr. Massey, Mr. Perry, Mr. Stengel, and Mr. Zummach:

       We write to provide you with additional discovery in this case. In addition to the
materials previously provided to you and described in our letter dated September 21, 2023:

       1.     As to Rule 16(a)(1)(A) and (B), statements by your clients, including reports and
statements provided to investigators in relation to this matter and other incidents, are included with
discovery.

        2.      As to Rule 16(a)(1)(E), documents, including police reports, interview reports,
investigative reports, transcripts of witness statements, and personnel and training records; videos;
audio recordings; and photographs are included with discovery.
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       3.     The government is cognizant of its continuing obligation pursuant to Brady v.
Maryland, 373 U.S. 83 (1963), and its progeny and will disclose such materials in a timely manner,
should they exist. Additionally, the government is aware of its continuing obligation to make
impeachment evidence available in a timely manner, should it exist.

        4.      Discovery, including police reports, FBI reports, TBI reports, transcripts of witness
statements, personnel and training records, and audio/video recordings have been made available
to you at the United States Attorney’s Office. Other than certain items made available for
inspection only, this discovery has been downloaded to drives you have provided, or will be
downloaded to drives once you provide them. Additional materials have been placed on USAfx.
You should have access today.           This evidence is BATES stamped US_00010952 -
US_00046118. Please let us know if you have any issues accessing these materials, and please
contact us to schedule a time to review the discovery made available for inspection if you would
like to do so.

       5.     We will make additional productions as needed. Please feel free to contact us at
(901) 544-4231 (David) or (202) 616-2430 (Kate) if you have any questions.



                                                      Very truly yours,

                                                      KEVIN G. RITZ
                                                      United States Attorney

                                              By:      s/David Pritchard
                                                      DAVID PRITCHARD
                                                      Assistant United States Attorney
                                                      167 N. Main Street, Ste. 800
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                                                      KRISTEN CLARKE
                                                      ASSISTANT ATTORNEY GENERAL

                                              By:      s/Kathryn E. Gilbert
                                                      Forrest Christian
                                                      Deputy Chief
                                                      Kathryn E. Gilbert
                                                      Special Litigation Counsel
                                                      150 M Street NE
                                                      Washington, DC 20002
                                                      (202) 616-2430


cc:    Clerk of the Court (W.D. Tenn.)
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                                CERTIFICATE OF SERVICE

       I, Kathryn E. Gilbert, hereby certify that the on the date below, I electronically filed the

foregoing with the Clerk of Court for the Western District of Tennessee via the Electronic File

System which sent notification to counsel of record.




                                                            s/ Kathryn E. Gilbert
                                                            KATHRYN E. GILBERT
                                                            November 2, 2023
